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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

 Plaintiff,

                v.                                         CRIMINAL NO. 05-383 (CCC)

 ITHIER RIVERA SANTIAGO [3],

 Defendant.



                           REPORT AND RECOMMENDATION

        Defendant Ithier Rivera-Santiago was charged in Count One of a three (3) count

Indictment and he agreed to plead guilty to Count One. Count One charges that, from on or

about 1999, the specific date unknown to the Grand Jury, and continuing up to the date of this

Indictment, in the District of Puerto Rico, and elsewhere, and within the jurisdiction of this Court,

this defendants along with other co-defendants named in the Indictment, together and with

others, known and unknown to the Grand Jury, did knowingly, and intentionally conspire,

combine, confederate, and agree together and with each other and with diverse other persons,

to commit an offense against the United States, that is, to possess with intent to distribute, and

distribute narcotic controlled substances, to wit: five (5) kilograms or more of cocaine, a Schedule

II, Narcotic Drug controlled Substance, one (1) kilogram or more of a mixture or substance

containing a detectable amount of heroin, a Schedule I, Narcotic Controlled Substance, inside

or within one thousand (1,000) feet of real property comprising a housing facility owned by a

public housing authority, that is, the Las Palmas Public Housing Project, Coamo, Puerto Rico,

in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A), 846 and 860.
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         Defendant appeared before this Magistrate Judge on June 19, 2008, since the Rule 11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by

Jury, which he signed and agreed upon voluntarily after examination in open court, under oath.

         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge of this

court.1 Upon verifying through defendant’s statement his age, education and any relevant aspect

as to the use of medication, drugs, alcohol or substance dependency, and psychological or

psychiatric condition, to ascertain his capacity and ability to understand, answer and comprehend

the interactive colloquy with this Magistrate Judge, a determination was made as to defendant’s

competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

he was examined and verified as being correct that: he had consulted with his counsel, Luis

Chaves-Ghigliotty, prior to the hearing for change of plea, that he was satisfied with the services

provided by his legal representative and had time to discuss with him all aspects of the case,

insofar, among other things, regarding the change of plea, the consent to proceed before a United

States Magistrate Judge, the content of the Indictment and the charge therein, his constitutional

rights and the consequences of the waiver of same.

         Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing his

initial plea of not guilty and now entering a plea of guilty to the charge specified, he was waiving



         1
             The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and W aiver of Jury Trial, signed and consented by both parties is made part of the record.
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his right to a public, speedy, and a trial by jury constituted by twelve jurors who have to

unanimously agree to a verdict. He was also waiving his right to be presumed innocent and for

the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a waiver

of all above-discussed rights a judgment of guilty and his sentence were to be based on his plea

of guilty, and he would be sentenced by the judge after considering the information contained

in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Chaves-Ghigliotty,

indicated he freely and voluntarily waived those rights and understood the consequences. During

all this colloquy, defendant was made aware that he could freely request from this Magistrate

Judge any additional clarification, repetition, or ask questions and that he may consult with his

attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The statutory penalty for the offense charged in
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Count One is a term of imprisonment of not less than ten (10) years and not more than life, a

term of supervised release of at least five (5) years, and a fine not to exceed four million dollars

($4,000,000.00). The Court must also impose a mandatory penalty assessment of one hundred

dollars($100.00), per count.

        Having ascertained directly from defendant that he had not been induced in any way to

plead guilty, that no one had forced him in any way to plead guilty, nor that he had been offered

any reward or any other thing of value to get him to plead guilty, the document entitled “Plea

Agreement pursuant to Rule 11(c)(1)(A) and (B) FRCP” (“the Agreement”) was shown to

defendant, verifying his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was appraised that it was up to the sole

discretion of the sentencing court what the sentence to be imposed on him will be. Defendant

was specifically informed that if the sentencing court were to impose a sentence which turned out

to be higher or more severe than the one he might be expecting, for said reason alone, defendant

would have no grounds for the court to allow him to withdraw his plea of guilty.

        The parties stipulate for purposes of the Plea Agreement that defendant be held

accountable for conspiring to possess with the intent to distribute at least five hundred (500)

grams but less than two (2) kilograms of cocaine.

        The above-captioned parties’ estimate and agreement that appears on page four (4),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. Pursuant to U.S.S.G. § 2D1.1(a)(3) and
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(c)(7), the Base Offense Level is of Twenty-Six (26). Pursuant to U.S.S.G. § 2D1.2(a)(1), the

Base Offense Level shall be increased by two (2) levels for drug offenses occurring near a

protected location (public housing project). Pursuant to U.S.S.G. § 2D1.1(b)(1), the Base

Offense Level shall be increased by two (2) levels for possession of a weapon. Pursuant to

U.S.S.G. § 3E1.1(a) & (b), the Base Offense Level shall be reduced by three (3) levels, for

acceptance of responsibility, for a Total Offense Level of Twenty-Seven (27), with a sentencing

range of seventy (70) to eighty-seven (87) months of imprisonment assuming a Criminal History

Category of I.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The parties do not stipulate as to any Criminal History Category for the defendant.

        As part of this Plea Agreement for Count One, the parties recommend a sentence of

seventy (70) months incarceration. The parties further recommend that this sentence run

concurrent to any Commonwealth of Puerto Rico sentence the defendant is presently serving.

In addition, at the time of sentencing the Government will move to dismiss Counts Two and

Three of the indictment as it relates to the defendant.

        Defendant was specifically informed that the above sentencing calculations were not

binding for the sentencing court, but were only estimates of possible terms of his sentence, which
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may always be imposed, at the sole discretion of the court, up to the maximum penalties allowed

by statute, and dependent upon the information and verification thereof of the pre-sentence

report that the court would have before it at the time of imposition of the sentence.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the government

had available to establish, in the event defendant had elected to go to trial, the commission of

the offense, beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of

the government was fully disclosed to them and previously discussed between the two.

Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled Stipulation of

Facts, which had been signed by defendant and his counsel and is attached to the Agreement,

wherein the signature of counsel for the government also appears.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any sentence

of imprisonment would be served, without him being released on parole. Defendant was

additionally informed that prior to sentence, the sentencing judge will have a pre-sentence report
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and that it would be made available to him, to his counsel and to the government, so that they

be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed, both

defendant and the government may appeal the sentence of the court.2

         Defendant was read in open court Count One of the Indictment, and was provided an

opportunity to see and examine same, indicating he availed himself of the opportunity to further

discuss same with his attorney and then he positively stated that what was contained in Count

One was what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the government’s

evidence as to his participation in the offense. Thereupon, defendant indicated he was pleading

guilty to Count One of the Indictment in Criminal No. 05–383 (CCC).

         This Magistrate Judge after having explained to the defendant his rights, ascertaining that

he was acting freely and voluntarily to the waiver of such rights and in his decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Count One of the Indictment in

Criminal No. 05-383 (CCC).




         2
           The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph
eighteen (18) a waiver of appeal. Defendant stated having discussed the waiver of appeal with his counsel and
understanding the consequences of the same.
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        IT IS SO RECOMMENDED.

        The sentencing hearing will schedule promptly, before Honorable Carmen Consuelo

Cerezo, District Court Judge.

        San Juan, Puerto Rico, this 19 th day of June of 2008.

                                                     s/ CAMILLE L. VELEZ-RIVE
                                                     CAMILLE L. VELEZ-RIVE
                                                     UNITED STATES MAGISTRATE JUDGE
